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 3   Telephone: (916) 446-9322
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 4
     Attorney for ZHEN SHU PANG,
 5   Defendant
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          ) No. CR.S-08-543-GEB
                                        )
12                    Plaintiff,        ) STIPULATION AND ORDER EXTENDING
                                        ) TIME TO FILE APPEARANCE BOND
13        v.                            )
                                        )
14   ZHEN SHU PANG,                     )
                                        )
15                    Defendant.        )
                                        )
16                                      )
17
18        The parties hereto, by and through their respective counsel,
19   hereby stipulate and agree that the time for filing the appearance bond
20   on behalf of the above-named defendant, and the time for presenting
21   proof to the Government of recordation of the Deed of Trust securing
22   the bond, shall be extended for two weeks, to February 13, 2009.       This
23   agreement is made in light of the delays inherent in obtaining
24   signatures of sureties residing in the states of Maryland and Texas.
25   Counsel for the defendant is informed that the signed documents will be
26   delivered via Federal Express to her office by or before Monday,
27   February 2, 2009.   In the interim, an Agreement to Forfeit Property
28   remains in full force and effect.


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 1   Dated:    January 30, 2009
                                               LAWRENCE G. BROWN
 2                                             United States Attorney
 3
                                               By     /s/ Candace A. Fry for
 4                                                  MICHAEL M. BECKWITH, Assistant
                                                    United States Attorney
 5
 6   Dated:    January 30, 2009                    /s/ Candace A. Fry
                                               CANDACE A. FRY, Attorney for
 7                                             ZHEN SHU PANG, Defendant
 8                                             (Signed for Mr. Beckwith with his
                                               prior authorization)
 9
10                                        O R D E R
11             It is so ordered.
12                     Dated: February 3, 2009
13
                              /s/ Gregory G. Hollows
14                           ________________________
15                           GREGORY G. HOLLOWS
                             United States Magistrate Judge
16
17   pang.ord
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